Case 1:18-cr-00538-MKB Document 224 Filed 02/24/23 Page 1 of 1 PageID #: 5589




                                                         February 24, 2023

VIA ECF
The Honorable Margo K. Brodie
Chief United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

       Re:    United States v. Ng Chong Hwa a.k.a Roger Ng, 18 Cr. 538 (MKB)

Dear Chief Judge Brodie:

        We write to request a modification to Mr. Ng’s curfew, which is currently 8 pm – 8 am.
Mr. Ng’s sentencing memorandum is due today. Accordingly, we ask that the Court extend his
curfew today only from 8 pm – 8 am to 1 am – 8 am. This will allow Mr. Ng to be present at our
office to complete the memorandum.

                                                         Respectfully submitted,



                                                         Marc A. Agnifilo
                                                         Teny R. Geragos

cc:    Counsel for the Government (via ECF)
